Case 9:23-cr-80101-AMC Document 388 Entered on FLSD Docket 03/11/2024 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                              CASE NO. 23-80101(s)-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

          GOVERNMENT’S OPPOSITION TO DEFENDANTS’ MOTION FOR AN
                     EXTENSION OF REPLY DEADLINES

         The defendants have jointly moved for a ten-day extension for filing the outstanding reply

  briefs in support of their various motions, with the exception of defendant Trump’s reply briefs in

  support of his motions to dismiss Counts 1-32 of the Superseding Indictment on vagueness grounds

  (ECF No. 325) and his motion to dismiss the Superseding Indictment based on the Presidential

  Records Act (ECF No. 327).1 An extension of time such that they receive more than twice the

  time allotted by the Local Rule is unreasonable. The briefing schedule has been in place for

  months. Only now, on the eve of the reply deadline, does the defense complain that it needs more

  time—mostly based on circumstances about which they have been aware throughout the pendency

  of their motions: the trial date in New York has been in place since 20222; the evidence Nauta and


  1
          Defendant De Oliveira joined Trump’s motion to dismiss the Superseding Indictment based
  on the Presidential Records Act (see ECF No. 331) but has filed nothing separate in support of the
  relief Trump seeks in that motion. Defendant Nauta has nothing pending at Thursday’s hearing.
  2
        Trump has also sought to adjourn the New York trial. See trump-motion-to-delay.pdf
  (documentcloud.org)
Case 9:23-cr-80101-AMC Document 388 Entered on FLSD Docket 03/11/2024 Page 2 of 3




  DeOliveira will inspect tomorrow has been available to them since the Government first provided

  them discovery3; and Nauta fails to explain how any questions about grand jury practice in the

  District of Columbia could affect his reply briefing and why he has waited until now to seek this

  information. And the fact that the defense must travel to Florida for a hearing on Thursday is not

  unique to those teams and poses no cause for such delay. The Court should deny the defendants’

  motion.

                                               Respectfully submitted,

                                               JACK SMITH
                                               Special Counsel


                                       By:     /s/ Jay I. Bratt
                                               Jay I. Bratt
                                               Counselor to the Special Counsel
                                               Special Bar ID #A5502946
                                               950 Pennsylvania Avenue, N.W.
                                               Washington, D.C. 20530

                                               David V. Harbach, II
                                               Assistant Special Counsel
                                               Special Bar ID #A5503068




  3
          Included in the Government’s first discovery production to each set of defense counsel
  were digital copies of the evidence seized from Mar-a-Lago, minus the documents with
  classification markings. These items are found at Bates range USA-00337507 - USA-00359428.

                                                  2
Case 9:23-cr-80101-AMC Document 388 Entered on FLSD Docket 03/11/2024 Page 3 of 3




                                  CERTIFICATE OF SERVICE

        I, Jay I. Bratt, certify that on March 11, 2024, I served the foregoing document on all parties

  via CM/ECF.

                                               /s/ Jay I. Bratt__________________
                                               Jay I. Bratt




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